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             EXHIBIT 7
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To:
To:          team@twitter  . com[tearn@twjtter. corn]
             team@twitter.com[team@twitter.com]
Cc:
Cc:          Dalana Brand[dbrand
             Dalana                @twitter.corn]
                     Brand[dbrand@twitter.com]
From:
From:        Ned Segal
             Ned         [nedsegal@twitter.com]
                   Segal[nedsegal@twitter.com]
Sent:
Sent:        Fri 8/19/2022 1:42:20
             Fri 8/19/2022           PM (UTC)
                             1:42:20 PM  (UTC)
Subject:
Subject:          Q2 '22
             Re: Q2
             Re:                    Recap and
                          Earnings Recap
                     '22 Earnings                   to recording
                                               link to
                                           and link    recording

Team,
Team,
Due to
Due   to deal-related     matters, we
         deal-related matters,               not yet
                                         did not
                                    we did               have a
                                                    yet have    a complete      answer in
                                                                   complete answer        in July   around PBP
                                                                                             July around       PBP accrual,           we are
                                                                                                                                 but we
                                                                                                                      accrual, but                    able to
                                                                                                                                               now able
                                                                                                                                          are now           to
                           As  a reminder,    the   bonus    pool   is calculated    based    on  our   performanc      e against   annual,    Board-
provide more clarity.
provide   more    clarity. As  a  reminder,    the  bonus    pool   is calculated    based    on   our  performance       against    annual,   Board-
             revenue and
approved revenue
approved                and profitability            and is
                                            goals, and
                              profitability goals,             intended to
                                                            is intended        ensure that
                                                                           to ensure          employees are
                                                                                         that employees             rewarded based
                                                                                                               are rewarded       based onon Twitters
                                                                                                                                              Twitters
               . Based     on  our   Q2  performanc       e,  the   2022   total  bonus     pool    is now    tracking     to 50%.
performance
performance.      Based    on  our   Q2   performance,        the   2022   total  bonus     pool    is  now    tracking    to 50%.
Since the
Since                 approved our
             Board approved
        the Board                      2022 Performanc
                                   our 2022    Performance       Bonus Plan
                                                               e Bonus     Plan in  January, we
                                                                                 in January,           have experience
                                                                                                 we have      experienced   d significant    challenges to
                                                                                                                              significant challenges        to
                          specific  to Twitter    and  the   pending    acquisition,    and   some     tied  to  our  industry   and  the   broader    global
our  revenue—some
our revenue—s        ome  specific  to Twitter    and   the  pending    acquisition,    and   some     tied  to  our  industry   and   the  broader    global
economy. We
economy.      We have                quickly to
                          adjusted quickly
                   have adjusted                   address these
                                                to address                           -
                                                                                        reducing expense
                                                                       challenges - reducing
                                                               these challenges                                   growth by
                                                                                                     expense growth           limiting our
                                                                                                                           by limiting        hiring, re-
                                                                                                                                         our hiring,    re-
                   real estate   footprint  to   better  reflect  the  current   environment     ,  and   appropriate    ly reducing     2022   expenses
evaluating our
evaluating    our  real  estate  footprint  to   better  reflect  the  current   environment,       and   appropriately     reducing     2022   expenses
related to
related  to contractor,    marketing, infrastructur
             contractor, marketing,      infrastructure,      and other
                                                          e, and           items. Unfortunatel
                                                                    other items.    Unfortunately,  y, this   is not
                                                                                                        this is        enough to
                                                                                                                  not enough     to offset  the challenges
                                                                                                                                    offset the   challenges
we   have experience
we have    experienced         revenue. We
                            to revenue.
                          d to             We havehave put                     FAQ to
                                                                         this FAQ
                                                              together this
                                                         put together                 to answer      additional questions you might have.
                                                                                          answer additional        questions   you    might   have.
I'm  sure this
I'm sure            frustrating to
                is frustrating
           this is                  read on
                                 to read   on many     levels. I
                                               many levels.        want to
                                                                 I want   to thank   you for
                                                                              thank you                focus as
                                                                                                your focus
                                                                                           for your                     move through
                                                                                                                    we move
                                                                                                                as we                           together, as
                                                                                                                                           this together,
                                                                                                                                through this                 as
                         been    more   important    (or   more   challenging!   ). Many     of you    are  going   to  extraordina   ry  efforts to  navigate
our
our  work   has never
            has  never    been   more   important    (or   more   challenging!).    Many     of  you   are  going    to extraordinary     efforts  to navigate
this environment
this environment,           we are
                       and we
                     , and            excited about
                                 are excited                  future of
                                                         the future
                                                 about the                our business.
                                                                       of our   business.
Ned
Ned

On
On Fri, Jul 22,
   Fri, Jul     2022 at
            22, 2022 at 11:56 AM Ned
                        11:56 AM     Segal <nedsegal@
                                 Ned Segal            twitter.com> wrote:
                                           <nedsegalgtwitter.com>  wrote:

  Team,
  Team,
          you to
  Thank you      everyone who
              to everyone        joined us
                            who joined     today for
                                        us today             Q2 2022
                                                         our Q2
                                                     for our    2022 Earnings  all hands.
                                                                     Earnings all  hands.
  If you weren't able
     you weren't      to join,
                 able to       we recorded
                         join, we                         and captured the highlights below:
                                                     you and
                                                 for you
                                   recorded itit for          captured the highlights below:

                              was                    and
                                                     and         year over year,         by ongoing
                                                                                  driven by
                                                                            year, driven            product improvemen
                                                                                            ongoing product            ts and
                                                                                                            improvements  and
           • Average
           •          mDAU was
             Average mDAU
           global conversatio
           global conversation         current events.
                                around current
                              n around          events.
                 o     mDAU grew
                   US mDAU
                 o US          grew        and IIM year
                                           and              over year!
                                                       year over year!
             Q2 revenue was
           • Q2
           •              was           =     (excluding  MoPub and
                                               (excluding MoPub    and Crosslnstall ).
                                                                       Crosslnstall).
                 o Ads
                 o Ads revenue   grew M or
                        revenue grew       or . on    a constant
                                                   on a           currency basis.
                                                        constant currency  basis.
           • Q2
           •     adjusted EBITDA was
             Q2 adjusted           was               margin.
                                                 IN margin.

                             an update on
                 do not have an
           • We do                          PBP accrual
                                         on PBP                now due
                                                 accrual right now       to the
                                                                    due to              acquisition; we
                                                                                ongoing acquisition;
                                                                            the ongoing              we know this visibility
                                                                                                        know this            is
                                                                                                                  visibility is
           •
           important to         we will
                            and we
                        you and
                     to you        will report back as
                                        report back    soon as
                                                    as soon     practical.
                                                             as practical.

     couple notes to
   A couple
   A              to keep in mind:
                          in mind:


           1. Check in
           1.             on how we're
                       in on            doing on
                                 we're doing      our company
                                              on our            OKRs for
                                                      company OKRs      for 2022   (Objectives +
                                                                            2022 (Objectives     + Key  Results).
                                                                                                    Key Results).
               The trading
           2. The
           2.                       will open
                    trading window will       on Monday, July 25 at 6:30am PT and will close on Wednesday
                                         open on  Monday,  July 25  at 6:30am    PT   and will  close on Wednesday,   , August  31 at
                                                                                                                        August 31  at
           1:00pm PT.
           1:00pm    PT. Please remember    you  are not allowed to  trade  Twitter  stock  if
                                            you are not allowed to trade Twitter stock if you  you have
                                                                                                   have  material
                                                                                                         material nonpublic
                                                                                                                  nonpublic
           information.                                        Trading Policy for
           information. Not sure? Please review our Insider Trading              for additional                For all
                                                                                                  information. For
                                                                                     additional information.           other questions,
                                                                                                                   all other questions,
           visit go/Equity.
                 go/Equity.

         you for
   Thank you     all you
             for all     do.
                     you do.
   Ned


                                                                                                                            EXHIBIT        I
   Ned Segal                                                                                                                EXHIBIT_
                                                                                                                            WIT:
                                                                                                                            WIT: 50 a b nge r
                   Officer
         Financial Officer
   Chief Financial
                                                                                                                            DATE:
                                                                                                                            DATE:    %'2.zLJ
                                                                                                                                     g • 2 • zif
                                                                                                                                         CSR, CRR,
                                                                                                                                   ROSS, CSR,
                                                                                                                            SHARON ROSS,           RMR
                                                                                                                                              CRR, RMR
   nedsegaI(ãtwittercom II@nedseyal                                                                                         SHARON
   nedsegal@twitter.com  @nedsegal


                                       TO PROTECTIVE
                  CONFIDENTIAL SUBJECT TO
                  CONFIDENTIAL                       ORDER
                                          PROTECTIVE ORDER
                                                                                                           X-SCHOBI NGER_000000074
                                                                                                           X-SCHOBINGER_000000074
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2022 PBP accrua
2022 PBP        l: Twee
         accrual:  Tweepp FAQ
                          FAQ
August 2022
August 2022


If we
If we continue  our cost-cuttin
      continue our   cost-cutting   measures, do
                                  g measures,        we anticipate
                                                 do we             that the
                                                        anticipate that     bonus pool
                                                                        the bonus          might be
                                                                                     pool might   be
funded at
funded   at more        50% by
                 than 50%
            more than         by year-end?
                                 year-end?
    •   Based on
    • Based       significant challenges
               on significant             to our
                               challenges to      revenue in
                                             our revenue      Q2 —some specific
                                                           in Q2—some            to Twitter
                                                                        specific to         and the
                                                                                    Twitter and the
        pending  acquisition, and
        pending acquisition,      some tied
                              and some        to our
                                         tied to      industry and
                                                  our industry      the broader
                                                               and the           global economy—t
                                                                        broader global            he
                                                                                        economy —the
        2022 total bonus
        2022 total             funding is
                          pool funding
                   bonus pool              now   tracking to 50%.  We  cannot  predict what
                                        is now tracking to 50%. We cannot predict what mightmight

        happen  in the
        happen in               ahead. Although
                       months ahead.
                   the months                      bonus pool
                                       Although bonus           funding could
                                                           pool funding                  we would
                                                                               improve, we
                                                                         could improve,     would
        need to see
        need to     material improvemen
                see material improvement  in order
                                        t in          move meaningfull
                                                   to move
                                             order to      meaningfullyy from these levels.
                                                                         from these levels.

Does this
Does               that we
           mean that
      this mean            will not
                        we will              to differentiat
                                        able to
                                    be able
                                not be           differentiate on performan
                                                             e on  performance  ce for     2022 year-end
                                                                                    for 2022     year-end
reviews  and ratings?
reviews and  ratings?
    • We
    •      are still
       We are        working on
               still working         approach to
                                 our approach
                             on our             to performanc
                                                   performance e differentiati
                                                                 differentiation          relates to
                                                                                  as itit relates
                                                                               on as                 PBP
                                                                                                  to PBP
        for Year-End Reviews
        for Year-End           and Ratings,
                     Reviews and             but what
                                   Ratings, but       we can
                                                 what we       say now
                                                           can say         that differentiati
                                                                        is that
                                                                   now is                     ng
                                                                                 differentiating
        performanc
        performance  will always
                   e will        be core
                          always be      to our
                                    core to              company performanc
                                                 overall company
                                            our overall            performance    philosophy, and
                                                                                e philosophy,    and we
                                                                                                     we
        will continue to
        will continue    provide resources
                      to provide            in order
                                 resources in            managers to
                                                     for managers
                                               order for            to do    through promotions,
                                                                          so through
                                                                       do so          promotions,
        equity grants,
        equity               bonuses, and
                        spot bonuses,
                grants, spot                                career developmen
                                                       and career
                                           leadership and
                                      and leadership               development  t opportunitie s.
                                                                                  opportunities.

Do we still
Do we        need to
       still need      do Quarterly
                   to do              Check-ins (QCls)
                          Quarterly Check-ins                    Year-End Performan
                                                             and Year-End
                                                    (QCIs) and                 Performance      Reviews
                                                                                            ce Reviews

and           given this
     Ratings given
and Ratings                update? How can
                      this update?          can we    continue to
                                                 we continue        motivate top
                                                                 to motivate     top performers
                                                                                      performers?   ?

    •  Yes! Feedback helps
    • Yes!                                              where they stand, how they can continue to
                                         understand where
                                Tweeps understand
                         helps Tweeps                          they  stand,  how    they  can continue  to
       develop and
       develop              and how they
                      grow, and
                 and grow,                        tracking towards
                                             are tracking
                                       they are                       larger career
                                                            towards larger                    QC's and
                                                                                      goals. QCls
                                                                              career goals.          and
       Year-End Reviews &
       Year-End              & Ratings        allow for
                                         also allow
                                Ratings also              managers to
                                                      for managers       reward top
                                                                      to reward        performers through
                                                                                   top performers   through
                incentives like
       various incentives                               increases, and equity grants. Off
                                               salary increases,
                                 promotions, salary
                            like promotions,                        and   equity  grants.  Off cycle,
                                                                                               cycle,
       managers     continue to
       managers continue              access to
                                 have access
                              to have                     bonuses to
                                                    spot bonuses
                                                to spot                recognize and
                                                                   to recognize     and reward
                                                                                         reward
       performance
       performance.  .


      did we
Why did      roll out calibration
          we roll       calibrations         Staff orgs
                                      across Staff
                                    s across            if we're
                                                   orgs if       still deciding
                                                           we're still           how to
                                                                       deciding how       pay out
                                                                                       to pay   out
                   based on
individual PBPs based
individual                     ratings?
                            on ratings?
           are still
    •• We are         working on
                still working         approach to
                                 our approach
                              on our              performance differentiati
                                               to performance               on as
                                                               differentiation as it relates to
                                                                                  it relates    PBP
                                                                                             to PBP
        for Year-End Reviews and Ratings.
                             and Ratings.
    •                           continue to
                   calibrations continue
              and calibrations
    • Ratings and                           be important
                                         to be                      of our
                                                          elements of
                                               important elements          People strategy.
                                                                       our People           It's
                                                                                  strategy. It's
                                          what they
      important that Tweeps understand what          are doing
                                                they are                 what could
                                                                    and what
                                                               well and
                                                         doing well           could be  better for
                                                                                    be better   for
              own personal career developmen
        their own                            t. These performanc
                                  development.        performance  management elements
                                                                 e management   elements
        inform
        inform more than
                    than just PBP, they
                                   they can
                                        can impact
                                            impact an
                                                   an employee's
                                                      employee's base
                                                                 base salary
                                                                      salary and
                                                                             and equity and
                                                                                 equity and

        are central    accelerating Tweep
            central to accelerating           company performance
                                          and company
                                    Tweep and         performance..


When  did Staff know about this update and why
When did                                      why was         a delay
                                                        there a
                                                   was there          in communica
                                                                delay in communicating    it to
                                                                                    ting it  to
employees post-Q2 earnings?
                          matters, we did
   •• Due to deal-related matters,        not yet
                                      did not     have a
                                              yet have                    in July
                                                                   answer in
                                                         complete answer
                                                       acomplete             July around PBP
                                                                                  around PBP
        accrual, but we are now able to         more clarity
                                     to provide more             did so
                                                             and did
                                                     clarity and           soon as
                                                                        as soon
                                                                     so as         we were
                                                                                as we      able.
                                                                                      were able.

As managers,                            have to
   managers, what tools do we currently have to motivate        performers?
                                                         strong performers?
                                                motivate strong


CONFIDENTIAL SUBJECT TO
CONFIDENTIAL         TO PROTECTIVE ORDER
                        PROTECTIVE ORDER
                                                                              X-SCHOBIN GER000000075
                                                                              X-SCHOBINGER_000000075
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2022 PBP
2022 PBP accrual:
         accrual: Tweep
                  Tweep FAQ
                        FAQ
August 2022
August 2022


     •• As
        As aareminder,
              reminder, Twitter
                           Twittermade
                                    made significant
                                             siqnificant investments
                                                            investmentsin   in Q1
                                                                                QI 2022
                                                                                     2022 inin our
                                                                                                our compensation
                                                                                                     compensation
         program including
        program    including merit
                               merit and
                                      and equity
                                             equity awards.
                                                      awards.
     •• We
        We are
             are continuing
                  continuing toto invest
                                   invest inin career
                                                careergrowth
                                                        growth forforTweeps:
                                                                       Tweeps:
            oo InIn the
                     the coming
                          coming weeks,
                                   weeks, we  we expect
                                                   expect toto be
                                                                be introducing
                                                                    introducing aanew  new Developing@
                                                                                             Developing program.
                                                                                                              program.
                This
                 This personalized
                        personalized career
                                        careerdevelopment
                                                   development tool  tool will
                                                                          will help
                                                                                help Tweeps
                                                                                       Tweeps figure
                                                                                                 figure out
                                                                                                         out where
                                                                                                             where they
                                                                                                                    they
                are,
                 are, what
                       what they
                             they want
                                    want inin terms
                                               terms ofof career
                                                           careeraspirations
                                                                    aspirations and and development
                                                                                          development
                 opportunities, and
                opportunities,     and how
                                         how to to prepare
                                                    prepare for
                                                              for what's
                                                                  what's next
                                                                            nextin in their
                                                                                       theircareer
                                                                                             career through
                                                                                                      through the
                                                                                                               the
                following
                 following paths:
                             paths: Grow
                                     Grow here,here, Explore,
                                                      Explore, Realign,
                                                                  Realign, TryTry something
                                                                                   something new, new, and
                                                                                                        and Level
                                                                                                             Level up.
                                                                                                                   up.
            oo Visit
                 Visit go/Careers
                       go/Careers to  to find
                                          find many
                                                 many more
                                                        more resources
                                                                resources available
                                                                               available toto you.
                                                                                              you.


Would
Would the
        the Board
             Board and/or
                      and/or the
                              the buyer
                                   buyer consider
                                           consider some
                                                      some relief
                                                             relief on
                                                                    on oror changes
                                                                            changes to to the
                                                                                           the Bonus
                                                                                                Bonus Plan
                                                                                                      Plan
given the
given  the extraordinary
           extraordinary circumstances
                             circumstances we'rewe're facing?
                                                        facing?
   •• That
        That is
              is something
                 something that
                             that the
                                   the Board
                                       Board and
                                               and the
                                                    the management
                                                        management team team have
                                                                               have looked
                                                                                     looked at.
                                                                                              at.
   •• Ultimately,
        Ultimately, any adjustments to the Bonus
                     any adjustments    to the  Bonus Plan
                                                        Plan require
                                                              require the
                                                                       the consent
                                                                            consent of
                                                                                     of the
                                                                                         the buyer
                                                                                             buyer under
                                                                                                   under the
                                                                                                          the
        terms of
       terms   of the
                   the merger
                       merger agreement.
                               agreement.


How will
How will we
         we maintain
               maintain business
                             business continuity
                                          continuity given given all
                                                                   all of
                                                                       of these
                                                                           these changes?
                                                                                    changes?
  •• The    PBP    accrual     update   is a   difficult reality
       The PBP accrual update is adifficult reality and we know itit is
                                                                 and   we   know        is frustrating.
                                                                                            frustrating. When
                                                                                                          When people
                                                                                                                   people
      decide
       decide toto join
                    join or
                          or leave
                              leave Twitter,
                                     Twitter, thethe decision
                                                      decision isis multifaceted.
                                                                     multifaceted. Compensation
                                                                                       Compensation is      is one
                                                                                                               one of
                                                                                                                    of those
                                                                                                                        those
      factors
       factors - their
                  their work,
                   -     work, their
                                 their teams,
                                        teams, and  and the
                                                         the opportunity
                                                              opportunity for for impact
                                                                                   impact are are some
                                                                                                   some others.
                                                                                                          others.
  •• The
       The work
             work that
                    that is
                          is being
                              being done
                                     done at  at Twitter
                                                 Twitter today
                                                           today has
                                                                   has never
                                                                        never beenbeen more
                                                                                          more important
                                                                                                   important and
                                                                                                               and
       relevant. We
      relevant.    We have
                         have more
                                more people
                                       people usingusing Twitter
                                                           Twitter today
                                                                    today than
                                                                             than atat any
                                                                                        any other
                                                                                               other time
                                                                                                      time in
                                                                                                            in our
                                                                                                               our history.
                                                                                                                    history.
       While we
      While    we are
                    are constrained
                         constrained in   in some
                                             some regards,
                                                      regards, wewe have
                                                                       have aalotlot of
                                                                                     of opportunities
                                                                                         opportunities today
                                                                                                           today and
                                                                                                                   and inin
       the future.
      the   future. Those
                     Those who who stay
                                     stay and
                                            and newnew Tweeps
                                                         Tweeps who who join thethe flock
                                                                                     flock will
                                                                                              will help
                                                                                                   help continue
                                                                                                        continue to to move
                                                                                                                        move
      the
       the business
            business forward
                        forward as as we
                                       we prioritize
                                             prioritize our
                                                          our work
                                                               work and
                                                                      and ensure
                                                                            ensure focus
                                                                                      focus on  on the
                                                                                                    the most
                                                                                                        most important
                                                                                                                important
       and immediate
      and    immediate initiatives.
                            initiatives.


Should we
Should  we be
            be worried
                worried about
                            about more
                                     more layoffs
                                             layoffs coming
                                                     coming asas we
                                                                  we continue
                                                                      continue toto pursue
                                                                                    pursue cost-cutting
                                                                                             cost-cutting
measures?
measures?
   •• We're
      We're notnot looking
                    looking atat company-wide
                                 company-wide layoffs.
                                                   layoffs. However,
                                                            However, teams
                                                                       teams from
                                                                              from across
                                                                                    across the
                                                                                            the company
                                                                                                company
       are reprioritizing and making changes to ensure
      are  reprioritizing   and   making    changes   to ensure  we  are operating responsibly and
                                                                     are operating  responsibly  and
       efficiently in
      efficiently   in the
                       the current
                           current operating
                                      operating environment.
                                                 environment. WeWe may
                                                                     may continue
                                                                          continue to
                                                                                    to see
                                                                                       see targeted
                                                                                           targeted
       restructuring and
      restructuring     and org
                             org changes
                                  changes as  as we continue
                                                     continue to
                                                              to align
                                                                 align with our
                                                                            our revised
                                                                                revised business
                                                                                         business needs
                                                                                                   needs
       (as we always
      (as       always have
                          have inin the past).
                                         past).


Could II
Could   still get
       still  get promoted
                   promoted oror are
                                 are we pausing
                                        pausing those as as well?
   •• We will still
                still promote
                      promote Tweeps who are
                                          are ready
                                              ready in
                                                     in 2022.
                                                        2022.


How does this update
How           update affect the Sales Incentive
                                        Incentive Plan
                                                   Plan (SIP)?
                                                        (SIP)?
  •• Tweeps on our Sales Incentive
                           Incentive Program
                                     Program (SIP),
                                               (SIP), which allows Tweeps to earn commission
                                 is paid on a
      based on sales targets and is         aquarterly basis, are not
                                                                  not eligible for the PBP
                                                                                       PBP and


                        PROTECTIVE ORDER
CONFIDENTIAL SUBJECT TO PROTECTIVE
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                                                                                         X-SCHOBI NGER_000000076
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     PBP accrual: Tweep FAQ
2022 PBP                FAQ
       2022
August 2022


       therefore are
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER
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